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                                                                 ~~ 1 ~
                                                                                 F1LE0
                          UNITED STATE DISTRICT COURT
                             CENTRAL DISTRICT
 2                                                                       2014 JAN 24 P~9 3~ 7
                             SOUTHERN DIVISION
 3                                                                       G~~~f ~, ~. ~   w v Uf~~
 4
     Narula, Ripdaman
 5
          Plaintiff
 6                   V.                            Civil Action No.
    Orange County Superior Court
    Orange County Sheriff's Department                 SACV19-00133 DSF(JC)
 s City of Laguna Niguel                                COMPLAINT
 9 'City of Santa Ana
    Arbitration Forums
io California Highway Patrol
ii Does 1 thru 20 inclusive
          Defendants
iz
13

14
           This is a claim for violation of civil right based on 42 USC 1983
                    and for violation of the constitutional rights
is                 per the 14th Amendment to the U. S. Constitution.
16

17
                               JURISDICTION
is   This court has jurisdiction over the lawsuit per 28 USC 1331 and also per 28 USC
     1332 for Arbitration Forums is located in Florida.
19

Zo                                 VENUE
21
     This District Court is the proper venue for most of the events occurred here in this
     district of the court.
2z
23                                          Respectfully Submitted
24
                                            Ripdaman Narula, Pro Se
25                                          P.O. Box 302
                                            Barstow, CA 92312
26
                                            Telephone No.: 760-590-7869
2~                                          I3ai71ans2003~u>l~otil~a~~l.co~~~
28
     COMPLAINT - 1
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i~
ig
                           ABBREVIATIONS
19

Zo         CHP                       California Highway Patrol
zi         C. O. A.                  Cause of Action
           C. R.                     Crime Report
22         DMV                       Department of Motor Vehicles
23         LACSDU                    Los Angeles County Sheriff's Deputies Union
           OCSC                      Orange County Superior Court
24
           OCSD                      Orange County Sheriff's Department
Zs         OCSDU                     Orange County Sheriff's Deputies Union
           P.                        Plaintiff
26
           V.C.                      Vehicle Code (California)
2~
2g
     COMPLAINT - 2
     Case 8:19-cv-00133-DSF-JC Document 1 Filed 01/24/19 Page 3 of 15 Page ID #:3




 r~ Plaintiff alleges:
                           First Cause of Action
                            Falsifvin~ the Crime Report

     1. That this cause of action is against the City of Laguna Niguel and against the
     Orange County(O.C.) Sheriff's Department,jointly and severally, for falsify a c. r.
     1 A. Plaintiff is ignorant of the true names of the defendants Does. While they are
     believed to have participated in this action, they are the agents of the city and of
     the Sheriff's department. Here they are referred to, to make sense of the facts.

   2. The plaintiff went to Sheriff's Journey substation to file a crime report (c. r.)
io Plaintiff gave a stack of papers to officer(Doe 1) at the front desk. Officer read,
   got up and went inside with all the papers.
ii 3. 4f~cer came back and told plaintiff to go to Santa Ana to file a c. r. for it was a
IZ financial crime.

13
     4. Plaintiff followed the directions and went to Santa Ana, but no c. r. was taken.
14   4A. Since then plaintiff has come to believe that the place he was sent to, was
     actually the place where they bring suspects for interrogation.
15
     4B. So the purpose of sending the plaintiff to Santa Ana, plaintiff believes, was to
16   have him intimidated by (jailer?) sergeant(Doe 2).
i~   4C. Plaintiff also believes that Doe 1 or someone else made a copy of the papers.
     And did not give plaintiff a receipt of those papers.
is   4D. Based on the subsequent events, plaintiff has come to conclude that copies
19   were made for a personal use, that is, to negotiate kickback with the
     suspect/criminal.
Zo   4E. From the subsequent events plaintiff has come to conclude that cops got
21   kickback and made a deal with the suspect criminal.
     4F. Responsibility of this corruption lies with the captain of that police station —
Za
     current one and the captain at the time.
23   4G. Not only captain of the Journey substation but also, I believe, captain of the
24
     station where I was sent to, be responsible for this kickback scheme.

25   5. Plaintiff lives in an area which is about 100 miles away from Santa Ana. A few
26   days later, about a week or so, plaintiff came to Orange County and tried to file a c.
     r. again. Again no c. r. was taken.
27

28
     COMPLAINT - 3
     Case 8:19-cv-00133-DSF-JC Document 1 Filed 01/24/19 Page 4 of 15 Page ID #:4



 1   6. It happened several times. Meanwhile plaintiff had discovered that city of
 2   Laguna Niguel had its own Police department, and sheriff has a contract with the
     city to provide police services.
 3
     7. After going there a few times they decided to take a c. r. However, plaintiff later
 4   discovered, that the c. r. was falsified. Plaintiff has been trying to get it corrected,
     but in vain.
 s
 6   8. Once plaintiff went to the city attorney's office to get it corrected. While
     plaintiff was standing in front of the city attorney's (and also Mayor's) office, cops
     were called. 2 cops came — a deputy(Doe 3)and a sergeant(Doe 4). Deputy in the
 g   lead and the sergeant in toe.
 9   9. When deputy was a few feet away, plaintiff thought that she was going to attack
     him. So, plaintiff spoke first. Followings is basically the essence of the interaction:
io   plaintiff said, I came over .... Before plaintiff completed the sentence, deputy,
ii   plaintiff felt, was in his personal space and very rudely said something to the affect
     do you live here? Plaintiff said, no, I live in ... and I came over to see the city
iz
     attorney. Deputy said, he is our attorney. Go where you live and file a c. r. there.
13   Plaintiff tried to explain that crime took place in this jurisdiction. But before
14
     plaintiff finished his sentence, deputy very rudely said, leave.
     10. Plaintiff was holding some papers in his hand and asked deputy if she would
is   like to have a copy of these papers. She said, no. She did not consult sergeant or
16   anyone else to say no.
     10A. Plaintiff left.
i~
ig 1 1. Plaintiff did go back to the city of Laguna Niguel. City attorney's office is
   located on the 2nd floor. Police department's office is located on the lst floor.
19
   Plaintiff went to police department's office on the lst floor.
zo 12. Plaintiff did talked to an officer(Doe 5) who came to the front desk. C. r. was
2i not corrected.
z2   13. P wrote a letter to Sheriff to have the c. r. corrected. But the c. r. has not been
23   corrected.
24
     14. As a proximate result of the aforementioned events plaintiff has suffered
2s   mental anguish.
26
     15. Plaintiff prays that city of Laguna Niguel and the Sheriff's department be
2~   ordered to correct the c. r.
2g
     COMPLAINT - 4
     Case 8:19-cv-00133-DSF-JC Document 1 Filed 01/24/19 Page 5 of 15 Page ID #:5



 1   16. Plaintiff prays that he be compensated for the mental anguish in the amount of
 a   $1,000,000 from the city of Laguna Niguel and Sheriff's Department,jointly and
     severally.
 3
     17. Plaintiff prays for a judgment for punitive and exemplary damage in the
 4   amount as court deems appropriate against the city of Laguna Niguel and the
     Sheriffs department,jointly and severally.
 s
 6          Wherefore, plaintiff prays for judgment as hereunder set forth.
 7

 8
                           Second Cause of Action
 9                   Giving a Citation for Moving Traffic Violation
io                        Based on Unconstitutional Law

ii   1. All the paragraphs, including the subparagraphs, if any, of the first cause of
iz   action are incorporated herein by reference thereto.
13
     2. This cause of action is against the city of Santa Ana for their police department
14   to give me a citation using an unconstitutional law, California Vehicle Code
     section 22450(a).
is
16   3. Plaintiff believe that there was a conspiracy to violate his civil rights acting in
i~   union with deputy(s) of the Sheriff department and/or deputies' union.

is 4. As to the Sheriff's department cops, one day I had a meal at about 5 p.m. in
19 Santa Ana downtown. It was a few days before I got this citation. While I was
   having the meal, a Sheriff's van was parked across the street. After I finished
Zo eating and wanted to pay the bill, person in charge there said, something to the
Zi affect that it was on the house. I could see no reason why he wanted to serve me a
   free meal. So, I insisted on paying and paid the bill.
22
   4A. Later on, as I thought about it, why he wanted to give me a free meal, I
23 recalled Sheriff's van parked across the street. I began to wonder if the van had

24
   anything to do with the offer of a free meal. And I conclude that it was more likely
   than not that it did.
2s 4B. As to why, I thought, it was to accuse me of leaving without paying for the
26 meal.
   4C. So, it was to frame me. But I did not fall for it.
2~

28
     COMPLAINT - 5
     Case 8:19-cv-00133-DSF-JC Document 1 Filed 01/24/19 Page 6 of 15 Page ID #:6



   4D. As that attempt to frame me failed, Sheriff's deputies, I believe, turned to
 2 Santa Ana police for help to stop me from wanting to correct the falsified c. r. This
   is a background information for the next paragraph(s).
 3

 4   5. So, Santa Ana city cop gave me a citation for a stop sign violation. Stop was
     made.
 s
 6   6. I went to court; and I pleaded not guilty.
 7
   7. At the trial, while I was found guilty as charged, 2 points I believe are
 s significant.
 9 7A. One, I asked the officer who had given me the citation to recite some Vehicle
   Code sections from memory. My purpose was to establish whether he gave me the
io citation in the course of his regular
                                         job or was it done because he was "out to get
ii me." Court objected.
   7B. Second, on the day the citation was given, after several hours when I came
12
   back to my car, 2 police cars were waiting nearby. One car (or perhaps both)
13 followed me. I asked officer who they were and why was I followed. Officer said

14
   he had no idea. But then court objected to the question. I did not believe him that
   he did not know them.
is 8. As I said before, I lost the case.
16
     ~ 9. I appealed.
i~
ig  10. I wrote appellant's opening brief. There was no response.
    10A. I went for oral argument. Opposing side was not there.
19
    lOB. But I lost the appeal. The appellant judge wrote an opinion against me.
Zo IOC. We are an adversary system. I won by default. And yet I lost my appeal and
21
   judge wrote an opinion against me. That is a violation of my civil rights and/or a
   violation of my constitutional rights based on the 14th Amendment to the U.S.
22 Constitution —due process of law and equal protection of law.

23 1 1. But this cause of action is against the city of Santa Ana on behalf of their
   police department for giving me a citation based on a State law, Vehicle Code
24
   section 22450(a) which is unconstitutional per Article 1, Section 1 of the Californi<
Zs Constitution.
26
     12. As a proximate cause of the aforementioned plaintiff has suffered a
2~   considerable damage.
2g
     12A. Value of this damage is $4,417.94.
     COMPLAINT - 6
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     12B. Plaintiff believes that events mentioned in the 3rd and 4th C. O. A. are a result
 2   of this case. And cops and deputies unions, I believe, are involved with them. P2,
     person who hit me with truck to force the front of my car into the next lane, is an
 3
     agent of the city cops, Sheriff's deputies and/or deputies' union.
 4
   13. Plaintiff prays for money judgment from the city of Santa Ana on behalf of
 5
   their cops for $4,417.94.
 6 13A. Plaintiff prays for relief from city of Santa Ana on behalf of their cops for
   mental anguish as court deems appropriate.
   13B. Plaintiff prays for judgment for punitive and exemplary damages as court
 s deems appropriate.
 9
           Wherefore, plaintiff prays for judgment as hereunder set forth.
io
ii
12                       Third Cause of Action
                        Attacking me on the FreewayHS5
13

14   1. All the paragraphs, including subparagraphs, if any, of the first and second
     causes of actions are incorporated herein by reference thereto.
is
16   2. This cause of action is against the city of Santa Ana for their cops, the deputies
i~   union and P2 for attacking me on SH55. P2 has been or would be referred to
     elsewhere and is mentioned here for reference purpose only.
ig
19   3. This court has jurisdiction of this cause of action per 28 USC 1331 for violation
     of civil rights and per 1332 for diversity.
Zo
ai 4. I had an accident on or about 2-8-2017 at SH55 in Orange County.
   5. An accident report by CHP accused me of being at fault 50%. I am at fault 0%.
Zz
   Not only that, I believe, this so called accident was actually an assault and battery.
23 I was attacked on the freeway.

24
   SA. I believe accident report accusing me of being at fault 50%was falsified. As I
   said before, I am at fault 0%.
25

26 6. As a proximate result of this attack I have suffered a damage of $4,417.94.
   6A. As a proximate result of this attack my driving record has been adversely
a~ affected.
2g
     co~Lanv~r - ~
     Case 8:19-cv-00133-DSF-JC Document 1 Filed 01/24/19 Page 8 of 15 Page ID #:8



 1   7. As a proximate result of this attack, I have suffered a considerable mental
 2   anguish.
 3
     8. Plaintiff prays for a compensatory relief in the amount of $4,417.94 from the
 4   city of Santa Ana.
     9. Plaintiff prays for judgment for this mental anguish in the amount as the court
 5
     deems appropriate.
 6
            Wherefore, plaintiff prays for judgment as hereunder set forth.

 g
                         Fourth Cause of Action
 9                       Attacking me on the Freeway 210
10
     1. All the paragraphs, including subparagraphs, if any, of the first, second and third
ii   causes of actions are incorporated herein by reference thereto.
12
     2. This C.O.A. is against the OCSD on behalf of the OCSDU and LACSDU jointly
13
     and severally. The person who hit me,I believe, was an agent of these unions.
14
     3. I had an accident on or about 8-31-2017 at route 210 in Los Angeles County.
is
16   4. I believe that this so called accident was actually an assault and battery. I was
i~   attacked on the freeway.

ig 5. They tried to get my car declared salvage. DMV refused to renew my
19 registration. It took me over 3 months to get my sticker.
   6. As a proximate result of this attack, I have suffered a considerable mental
Zo anguish.
zi 6A. Value of this damage is undetermined.
22
     7. After I got my registration, a belt in my car broke on 1-2-2019. I believe, my car
23   was vandalized.
24
     7A. I believe, it was vandalized by someone working for the deputies union
     directly or indirectly.
zs
26   8. As a proximate result of this attack I suffered a damage of $114.

27
     9. Plaintiff prays for a compensatory relief in the amount of $114 from O.C.
2g   Sheriff's Department on behalf of their deputies' union.
     COMPLAINT - 8
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 1   10. Plaintiff prays for judgment for this mental anguish in the amount as the court
 2   deems appropriate.
     1 1. I pray for an injunction against the deputy's union and its agents not to harass
 3
     me in any manner whatsoever.
 4
            Wherefore, plaintiff prays for judgment as hereunder set forth.
 s
 6
                          Fifth Cause of Action
                     Violating Due Process and Equal Protection of Law
 a
     1. All the paragraphs, including subparagraphs, if any, of the first thru fourth
 9   causes of actions are incorporated herein by reference thereto.
io   2. This cause of action is against the Orange County Superior Court.

ii   3. This court has jurisdiction of this cause of action for all the State remedies have
12   been exhausted.
13
   4. As referred in the 9th paragraph of the 2"d C.O.A. I appealed.
14 5. I wrote appellant's opening brief. There was no response.
   SA. I went for oral argument. Opposing side was not there.
15
   SB. But I lost the appeal. That is a violation of my civil rights andlor a violation of
16 my constitutional rights based on the 14~ Amendment to the U.S. Constitution —

i~ due process of law and equal protection of law.
is 6. Judge of the Appellant department of the Superior Court wrote an opinion
19 against me.
   6A. We are an adversary system. When opposing side did not file a response brief
20 to the opening brief and did not show up for oral argument, plaintiff won appeal by
21 default because we are an adversary system.
   6B. The Superior Court violated plaintiff rights based on the 14r1~ amendment to the
a2
   U.S. Constitution by writing an opinion against him.
23

24
   7. As a proximate result of that plaintiff has been damaged in the amount of money
   which is undetermined.
Zs 8. Plaintiff believes and there on alleges that both of the accidents/attacks on him
26 on SH55 and route 210 were the result of that decision.

27
     9. Plaintiff pray for an injunctive relief order to the Orange County Superior Court
Za   to correct its wrong decision.
     COMPLAINT - 9
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 z
 3
                          Sixth Cause of Action
                           State Law Unconstitutional
 4

 5 1. All the paragraphs, including subparagraphs, if any, of the 1St thru 5~` causes of
   actions are incorporated herein by reference thereto.
 6 2. This cause of action
                           is against the Orange County Superior Court.
   3. This court has jurisdiction of this cause of action for all the State remedies have
   been exhausted.
 s
 9 4. That the State law Vehicle Code section 22450(a)is unconstitutional.
io 5. That it is used to harass people and give phony citations. It was used to give me
   phony citation. Stop was made.
ii 6. That it was used to violate my civil rights under the color of law, thus violating
12 18 USC 242.
   7. That all state remedies have been exhausted, including the California Supreme
13
   Court.
14
      8. That the subsection (a) of the Vehicle Code 22450 be declared unconstitutional.
15
      It violates Article 1, Section 1 of the California Constitution. California
16    Constitution gives people right to pursue and obtain safety. This code section
i~    violates that right.

ig    9. Plaintiff pray that V. C. 22450(a) be declared unconstitutional.
i9
20
                          Seventh Cause of Action
21                         Falsifvin~ the Accident Report
22
      1. All the paragraphs, including subparagraphs, if any, of the 1St thru 6~' causes of
23
      actions are incorporated herein by reference thereto.
24    2. This cause of action is against the CHP.
      3. This court has jurisdiction of this cause of action per 28 USC 1331 and 1332.
25
      This matter was taken to Florida for arbitration and I was found liable. The case
26    was taken to Florida, I believe, to take advantage of the falsified accident report.
27

28
      COMPLAINT - 10
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   4. The accident on SH55 was not an accident. I believe, it was assault and battery.
 2 That P2, truck driver who hit me at about 60 MPH while the traffic was moving at
   about 20 MPH, was an agent of the SAPD, Sheriff's deputies and/or Sheriff's
 3
   deputies union.
 4 5. I have provided information to CHP several times. But officer keep on saying
   conflicting statements, no witnesses etc. While officer was talking to me,I noticed
 s
   P2 was not there. Officer let P2 leave before he finished talking to me.
 6 SB. Officer did not record my statement in his report. He asked me, was I changing
   lanes? I told him, no. This statement as I remember was not in the report.
   SC. ....
 s 6. Based on the information provided, a competent and honest officer can
 9 analytically come to a conclusion that P1 (plaintiff was at fault 0%.

10
      7. As a proximate result of the false accident report the plaintiff has been damaged
ii    in the amount of $4,417.94.
      6. As a proximate result of the false accident report, plaintiff's driving record has
12
      been damaged.
13

14
      7. Plaintiff pray for an injunctive relief order to CHP to correct the falsified
      accident report.
is    8. Plaintiff seeks further relief from this court as this court deems appropriate.
16
            Wherefore, plaintiff prays for judgment as hereunder set forth.
i~
ig
19                        Eighth Cause of Action
                   Holding Arbitration without mY Participation and
zo                 without even informing me and Finding me Liable
21

22
   1. All the paragraphs, including subparagraphs, if any, of the 1St thru 7th causes of
23 actions are incorporated herein by reference thereto.

24
   lA. All the paragraphs of the 31d C.O.A. are incorporated herein by reference
   thereto for emphasis purpose.
25 2. This cause of action is against Arbitration Forums (hereinafter referred to as

26 Forums.)
   3. This court has jurisdiction of this cause of action per 28 USC 1331 and 1332.
z~ Forums is located in Florida.
zg
      COMPLAINT - 11
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 1    4. That the Forums had an arbitration without plaintiff's participation and without
 2    even informing him that it was happening.
      4A. The Forums found plaintiff liable.
 3

 4    5. Plaintiff has requested Forums to pay him to get his car repaired. But they have
      not done it.
 5
      6. Plaintiff has requested Forums to ask Mercury Insurance informally to pay the
 6    plaintiff to get his car repaired. But they have not done it to the best of my
      knowledge.

 s 7. That as a proximate cause of Forums' actions or lack of actions plaintiff has
 9 suffered property damage in amount of $4,417.94.
   7A. Plaintiff also has suffered harm to his driving record.
io 7B. $3,000 has to be paid to my insurance company, Integon National Insurance
ii Company, which they have paid and which they don't owe.
   8. That as a proximate cause of Forum's actions or lack of actions plaintiff has
iz
   suffered considerable mental anguish.
13

14
      9. This cause arises under violation of the civil rights per 42 USC 1983. This court
      has jurisdiction per 28 USC 1331 and 1332.
is
16 10. Plaintiff prays for a money judgment for compensatory relief from the
   Arbitration Forums in the amount of $4,417.94.
i~ 1 1. Plaintiff prays for a judgment for mental anguish against the Arbitration
ig Forums in the amount of $1,000,000.
   13. Plaintiff pray for a judgment for exemplary and punitive damage against the
19
   Arbitration Forums in the amount as court deems appropriate.
Zo
ai          Wherefore, plaintiff prays for judgment as hereunder set forth.

22

23                       Ninth Cause of Action
24
                       A Summar~of all the Causes of Action

Zs 1. All the paragraphs, including subparagraphs, if any, of the l st thru 8~' causes of
26 actions are incorporated herein by reference thereto.
   2. This cause of action is against all the parties involved as have been referred to in
a~ the causes of actions one thru eight.
2s 3. This court has jurisdiction of this cause of action per 28 USC 1331 and 1332.
      COMPLAINT - 12
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 1

 2 4. This summary is provided to clarify the facts and to establish that while number
   of people are involved (perhaps in hundreds) it is one continuous case which
 3
   started at Journey Substation ... went to Florida ... and is still continuing.
 4 4A. The falsified c. r. has not been corrected. All this has been happening because
   they, whoever they are, have put their ego and/or corruption ahead of their sense
 s
   duty to law.
 6 5. It started when plaintiff went to Sheriff's Journey substation where I have come
   to believe that they made copies of my papers without my permission and without
   giving me an acknowledgement that they made copies. So, I assume that they mad
 s copies for personal use to negotiate their kickbacks with the suspects. Regardless
 9 of the deputies involved, captain, at that time as well as the current one, should be
   held responsible.
io
ii 6. Then the city of Laguna Niguel while took a c. r. but falsified it. I went to see
   the city attorney to get it corrected. But I was almost attacked by cops and told to
12
   leave.
13 7. Sheriff's deputy(s) tried to get me framed. But were not successful.

14
   8. Then Sheriff s deputy(s), I believe, got SA city cops to get me harassed by
   giving me a (phony) citation based on an unconstitutional law (V. C. 22450 (a))for
is a stop sign violation. Stop was made.
16
   9. At the trial, ....
i7 10. At the trial, letter to Sheriff was introduced and accepted as a part of the record.
ig Purpose of offering this letter was to show as to why the citation was given to me.
   The citation I believe, was given to me to harass me and to prevent me from asking
19
   that the falsified c. r. be corrected.
20
21
   11. On appeal, constitutionality of the V.C. 22450(a) was challenged. There was ~
   opposition. We are an adversary system. The V.C. 22450(a) should have been
zz declared unconstitutional. But it was not done. This section of Vehicle code was
23 used to violate my civil rights under the color of law (a violation of 18 USC 242).

24
      12. On appeal, there was no opposition. But an opinion was written against me. It
25    violated my rights to equal protection of law under Equal Protection of Law
      provision of the 14~' amendment to the U.S. Constitution.
26
      13. I had an accident on SH55 in Orange County on 2-8-2017. I believe, it was an
z~    assault and battery.
2g
      COMPLAINT - 13
     Case 8:19-cv-00133-DSF-JC Document 1 Filed 01/24/19 Page 14 of 15 Page ID #:14



 1 14. I believe, accident report was falsified. In spite of my several attempts to have
 2 it corrected, it has not been corrected.
   15. Then on or about 8-31-2017 I had another accident in Los Angeles County on
 3
   Route 210. Again, I believe, it was an assault and battery.
 4 16. As a result of the accident in L. A. County on Route 210, my car was labeled
   salvage. DMV refused to renew my registration. It took me over 3 months of hard
 s
   work and mental anguish to get my registration renewed. Finally, I got my sticker
 6 in late December 2018 while my registration expired in September.
   17. While driving on freeway my car overheated. I discovered that the belt which
   drives water pump was broken. It happened on 1-2-2019. I suspect that someone
 s vandalized my car. I suspect a Doe working for the deputies' union did it. DeputiE
 9 union is a suspect. I paid $114 to get my car repaired.
   17A. I pray for compensatory relief for $114 from the O.C. Sheriff's Department
io on behalf of their deputies and their
                                           agents.
ii
   18. All this is for clarification and to show that attacks on me are ongoing. I don't
is
   know when they are going to hit me, where they are going to hit me, how they are
13 going to hit me etc. So it creates a lots of anxiety and mental anguish. That is

14
   where I stand.

15          Wherefore, plaintiff prays for judgment as hereunder set forth.
16

17
      PRAYERS:
~g
19      Wherefore the plaintiff prays for injunctive relief orders as follows:
          a. to Superior Court to correct its decision.
zo
          b. To Sheriff Department to correct the falsified c. r.
zi        c. To City of Laguna Nigel to correct the falsified c. r.
a2        d. To City of Santa Ana to prevent its PD from harassing me, attacking me
          and/or having me attacked me by others in any manner whatsoever.
23        e. To CHP to correct the falsified accident report.
24        £ To O. C. deputies union to prevent it from harassing, attacking and/or
          getting me attacked by others in any manner whatsoever.
2s
26 2. Plaintiff prays for money judgment for mental anguish from the city of Laguna
   Nigel in the amount of $1,000,000.
2~
   3. Plaintiff prays for exemplary and punitive money judgment from the city of
2s Laguna Nigel in the amount as this court deems appropriate.
      COMPLAINT - 14
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 z 1X 4. Plaintiff prays for specific money judgment from the Arbitration Forums in the
   'amount of $4,417.94.
 3
      5. Plaintiff prays for money judgment of mental anguish from the Arbitration
 4 Forums in the amount of $1,000,000.
     6. Plaintiff prays for exemplary and punitive money judgment from Arbitration
 5
      Forums in the amount as this court deems appropriate.
 6
      7. That plaintiff prays for money judgment in the amount of $114 from the O.C.
      Sheriff's Department on behalf of their deputies' union.
 s
 9    8. That California Vehicle Code section 22450(a) be declared unconstitutional.
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      9. Cost of this suit.
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      10. Any other relief the court deems appropriate.
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      COMPLAINT - 15
